          Case 1:19-cr-00449-LO Document 378 Filed 10/27/21 Page 1 of 13



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND



    United States of America,



                                                             Civil Action No. l:19-cr-0449
    Kenneth W.Ravenell,et ai.,                               Hon. Liam O'Grady
                                                            (UNDER SEAL!
                           Defendants.




                                             ORDER


Introduction


       This matter comes before the Court on the Government's motion to modiiy the review

process for information contained on the laptop computer of the Defendant, Kenneth Ravenell

("Ravenell"). Dkt. 353. The Court has reviewed its previous order and the supporting

memorandum ofthe Government and the Defendant. For the reasons stated below, the

Government's motion is GRANTED.The materials detailed below will be turned over to the

Government.




Background

       The Defendant Ravenell is charged in an indictment that alleges Ravenell was part of a

conspiracy to hide the proceeds of narcotics sales and to obstructjustice in the investigation of

that conspiracy. Dkt. 281. On August 26,2014 the Government executed a search warrant on the

law office of Murphy, Falcon, Murphy, Ravenell & Koch. Dkt. 353 at 2. The Defendant was a
Case 1:19-cr-00449-LO Document 378 Filed 10/27/21 Page 2 of 13
Case 1:19-cr-00449-LO Document 378 Filed 10/27/21 Page 3 of 13
Case 1:19-cr-00449-LO Document 378 Filed 10/27/21 Page 4 of 13
Case 1:19-cr-00449-LO Document 378 Filed 10/27/21 Page 5 of 13
Case 1:19-cr-00449-LO Document 378 Filed 10/27/21 Page 6 of 13
Case 1:19-cr-00449-LO Document 378 Filed 10/27/21 Page 7 of 13
Case 1:19-cr-00449-LO Document 378 Filed 10/27/21 Page 8 of 13
Case 1:19-cr-00449-LO Document 378 Filed 10/27/21 Page 9 of 13
Case 1:19-cr-00449-LO Document 378 Filed 10/27/21 Page 10 of 13
Case 1:19-cr-00449-LO Document 378 Filed 10/27/21 Page 11 of 13
Case 1:19-cr-00449-LO Document 378 Filed 10/27/21 Page 12 of 13
Case 1:19-cr-00449-LO Document 378 Filed 10/27/21 Page 13 of 13
